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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION


UNITED STATES OF AMERICA                                                          PLAINTIFF


V.
                                     CASE NO: 3:23-CR-14-DJH

BRYAN DOUGLAS CONLEY                                                            DEFENDANT

                                     Electronically Filed


                 DEFENDANT’S MOTION TO CONTINUE TRIAL DATE

                                     *****     *****    *****

       Comes the Defendant, BRYAN DOUGLAS CONLEY, by his appointed counsel, and

moves this Court to continue the jury trial date scheduled in the above-styled action. As grounds,

the Defendant states as follows:

       1. That the above-named Defendant is charged in the above-numbered Indictment for

Interstate Transportation for Prostitution or other Criminal Purposes; Transportation of Minors;

Kidnapping By Inveigle and Decoy; Bank Fraud; Aggravated Identity Theft; and ten (10) counts

of Interstate Threats [DN 4].

       2. The undersigned was appointed on March 29, 2023, pursuant to the Criminal Justice

Act, to replace the Defendant’s previous counsel of record [DN 37].

       3. The undersigned submits that a postponement of the currently scheduled trial date of

April 17, 2023, is necessary so that undersigned counsel has sufficient time to review (what is

anticipated to be) voluminous discovery, in both documentary and electronic form, that will be

disclosed by the United States.



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       4. Additionally, the record and the Defendant’s Pretrial Memorandum [DN 30] indicates

that a number of motions are currently pending before the Court, including two Government

Notices of Intent to Use Rule 404b evidence [DN 23 & 24], and three defense Motions in Limine

to Exclude certain evidence [DN 27, 28 & 29]. Undersigned counsel is unable to address the

Government’s request to introduce evidence of uncharged conduct at this time. Similarly, the

undersigned will need time to determine whether to adopt the defense motions and possibly

supplement the arguments therein.

       5. Wherefore, the Defendant, BRYAN DOUGLAS CONLEY, moves this Court to

continue the jury trial scheduled for April 17, 2023, since proceeding to trial on the currently

scheduled date would deny Defendant’s substitute counsel the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence.

                                      Respectfully submitted,

                                      s/LARRY D. SIMON
                                      LARRY D. SIMON
                                      Attorney for Defendant BRYAN DOUGLAS CONLEY
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                                      CERTIFICATION

       I hereby certify that on April 3, 2023, a copy of the foregoing Motion to Continue the Trial

Date was filed electronically. Service of this filing will be made on all ECF-registered counsel by

operation of the court’s electronic filing system. Parties may access this filing through the court’s

system.

                                                              s/LARRY D. SIMON
                                                              LARRY D. SIMON



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